 Case 4:24-cr-00275-O              Document 31           Filed 12/04/24          Page 1 of 2        PageID 48



                             IN THE UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF TEXAS
                                     FORT WORTH DIVISION

UNITED STATES OF AMERICA                                 §
                                                         §
                                                         §
VS.                                                      §    CRIMINAL NO. 4:24-CR-275-O
                                                         §
MICHAEL KIRK BAUMGARDNER, et al.                         §


                                                    ORDER
        Before the Court is Defendant’s Motion for Continuance (ECF No. 30). After reviewing the

motion, the Court finds that the trial date for all remaining defendants1 should be reset for the

reasons that follow, and the Court resets the case for trial on January 21, 2025, at 9:00 A.M.


        Pursuant to 18 U.S.C. §3161(h), a court can grant an “ends of justice” continuance at the

request of a defendant or defendant’s attorney if the court does so on the basis of the finding “that

the ends of justice served by taking such action outweigh the best interest of the public and the

defendant in a speedy trial.” Id. One of the factors a court may consider in granting an “ends of

justice” continuance is “[w]hether the failure to grant such a continuance . . . would deny counsel

for the defendant . . . the reasonable time necessary for effective preparation, taking into account the

exercise of due diligence.” 18 U.S.C. §3161(h)(7)(B)(iv).


        Based on the reasons in the motion and the record, the Court finds (1) that the ends of justice

served by the granting of a trial continuance outweigh the best interests of the public and defendants

in a speedy trial; (2) that the failure to grant a continuance in this case would deny counsel the


1. The Court may continue the trial date for all co-defendants in the same case when only one moves for a
continuance. See United States v. Jones, 56 F.3d 581, 584 n.4 (5th Cir. 1995).

                                                         1
 Case 4:24-cr-00275-O          Document 31        Filed 12/04/24       Page 2 of 2       PageID 49



reasonable time necessary for effective preparation, taking into account the exercise of due diligence;

and (3) that taking into account the exercise of due diligence by counsel, a continuance of the

duration granted by this order is necessary for effective preparation by defense counsel. All dates in

the current trial scheduling order are extended by 30 days.


       SO ORDERED on this the 4th day of December, 2024.



                                                   _____________________________________
                                                   Reed O’Connor
                                                   UNITED STATES DISTRICT JUDGE




                                                  2
